Case No. 1:22-cv-01129-NYW-SKC Document 98 filed 02/06/23 USDC Colorado pg 1 of 4




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129-WJM

   ERIC COOMER, PH.D.,

         Plaintiff,

   v.
   MICHAEL J. LINDELL, FRANKSPEECH,
   LLC, AND MY PILLOW, INC.

         Defendants.


          UNOPPOSED MOTION FOR LEAVE TO PROVIDE LIMITED SCOPE
        REPRESENTATION UNDER D.C.COLO.LAttyR 2(b)(1) AND LAttyR 5(a)-(b)


            Scott Eric Gessler Esq., hereby submits this Unopposed Motion for Leave to

   Provide Limited Scope Representation Pursuant to D.C.COLO.LAttyR 2(b)(1) and

   LAttyR 5(a) and (b), and in support thereof, states as follows:


                                       REQUEST FOR RELIEF

            1.        D.C.COLO.LAttyR 2(b)(1) permits an attorney to provide limited

   scope legal representation in civil actions in accordance with Colo. RPC 1.2(c),

   when ordered by the Court, and subject to D.C.COLO.LAttyR 5(a)-(b).

            2.        Colo. RPC 1.2(c) provides in part:

                      A lawyer may limit the scope or objectives, or both, of
                      the representation if the limitation is reasonable under
                      the circumstances and the client gives informed consent.

            3.        Here, undersigned counsel seeks to enter a limited appearance to
Case No. 1:22-cv-01129-NYW-SKC Document 98 filed 02/06/23 USDC Colorado pg 2 of 4




   represent nonparty Tina Peters in this action at her request for the limited purpose

   of representing her for the purposes of the discovery dispute involving the

   subpoena issued to her by Plaintiff.

          4.      Accordingly, undersigned counsel respectfully requests that this

   Court permit him to enter a limited appearance for the purpose of representing

   Tina Peters with respect to the discovery subpoena served upon her by Plaintiff.

   Attached is undersigned counsel’s proposed Entry of Appearance to Provide

   Limited Representation.

          5.      Tina Peters is currently not represented by counsel in this matter and

   therefore qualifies for limited scope representation as permitted by

   D.C.COLO.LAttyR 2(b)(1).

          6.      Undersigned counsel is an active member in good standing of the

   bar of this Court, and thus is permitted to appear on Tina Peters’ behalf.

   Undersigned counsel certifies that Ms. Peters has both requested and consented to

   limited representation as proposed herein.

          7.      In addition, undersigned counsel certifies that, in providing limited

   scope representation to Ms. Peters, counsel will comply with all rules of this

   Court, including the Federal Rules of Civil Procedure, this District’s Local Rules, and

   the Colorado Rules of Professional Conduct as adopted by D.C.COLO.LAttyR 2.

          8.      Undersigned counsel requests receipt of the Notices of Electronic

   Filing issued in this matter while counsel is acting in a limited representation capacity

   and until counsel has been granted permission to withdraw from this case.
Case No. 1:22-cv-01129-NYW-SKC Document 98 filed 02/06/23 USDC Colorado pg 3 of 4




   Undersigned counsel also acknowledges that Ms. Peters will continue to receive from

   the court or from the opposing counsel or parties notice of all documents filed in

   this case by mail.

          9.      Undersigned counsel certifies that, at the conclusion of the discovery

   dispute involving Ms. Peters, counsel will move to withdraw in compliance with

   D.C.COLO.LAttyR 5(b).

          FOR THESE REASONS, undersigned counsel respectfully requests that

   the Court grant this motion for leave to provide limited representation to Tina

   Peters pursuant to D.C.COLO.LAttyR 2(b)(1) and LAttyR 5(a)-(b) for the purpose

   set forth in paragraph three of this motion, permit undersigned counsel to file the

   attached Entry of Appearance to Provide Limited Representation, and grant such

   other and further relief as the Court may deem just and proper.

           DATED February 6, 2023.

                                                     Respectfully submitted,

                                                     s/Scott E. Gessler
                                                     Scott E. Gessler (28944),
                                                     sgessler@gesslerblue.com
                                                     GESSLER BLUE LLC
                                                     7350 E Progress Pl., Suite 100
                                                     Greenwood Village, CO 80111
                                                     Tel: (720) 839-6637
Case No. 1:22-cv-01129-NYW-SKC Document 98 filed 02/06/23 USDC Colorado pg 4 of 4




                                  CERTIFICATE OF SERVICE

           I hereby certify that on this 6th day of February 2023 I electronically filed the
   foregoing with the Clerk of the Court using the CM/ECF system which will send
   notification of such filing to all parties and their counsel of record.


                                                         s/Joanna Bila
                                                         Joanna Bila, Paralegal
